Case 20-01312-dd      Doc 17     Filed 04/30/20 Entered 05/01/20 10:00:04            Desc Main
                                 Document      Page 1 of 2



                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA

     IN RE:                              )
                                         )                 CHAPTER 7
                                         )
     ALEXANDRA CANDELA WHITTLE,          )
                                         )
                                         )                 Case No. 20-01312
                       Debtor,           )
     ___________________________________ )

         ORDER GRANTING RELIEF FROM STAY TO CONTINUE OR PURSUE
                                  ACTION IN FAMILY COURT
             THIS MATTER is before the Court on the request of creditor Douglas Whittle and
     with consent of debtor for an order granting relief from the 11 U.S.C. § 362(a) automatic
     stay to permit adjudication of the following matters in family court:

     Divorce, Child Support, Equitable Distribution of Marital property & Debts

              IT IS therefore,

     ORDERED that relief from the automatic stay is granted. Both parties to the family court
     action may litigate the matters set forth above. However, additional relief from stay is
     necessary for the enforcement of a marital obligation against property of the bankruptcy
     estate or to hold the debtor in civil contempt. Notwithstanding any determination by the
     family court, property of the estate and the impact of any family court order on the debtor’s
     bankruptcy may be subject to further order of this Court.
         AND IT IS SO ORDERED.

 FILED BY THE COURT
     04/30/2020




                                                  David R. Duncan
                                                  US Bankruptcy Judge
                                                  District of South Carolina


  Entered: 05/01/2020
Case 20-01312-dd     Doc 17   Filed 04/30/20 Entered 05/01/20 10:00:04   Desc Main
                              Document      Page 2 of 2



     I so move:

     ___/s/ Sean Markham_____________
     Sean Markham
     Attorney for Creditor Douglas Whittle


     I so consent:



     ___/s/ Ingrid H. Rudolph __________
     Ingrid H. Rudolph
     Attorney for Debtor




                                             2
